Case 5:18-cr-00018-JDW-PRL Document 1 Filed 04/18/18 Page 1 of 3 PagelD 1

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UNITED STATES DISTRICT COUR 6 fpz jg py,
MIDDLE DISTRICT OF FLORIDA Tb: 06
OCALA DIVISION ,
UNITED STATES OF AMERICA

% CASE NO. 5:18-cr-1$+Se-ZPRAL
18 U.S.C. § 2261A(1)

TOMMIE RAYMOND THOMAS

INDICTMENT
The Grand Jury charges:
COUNT ONE
Beginning in or about October 2013, and continuing through in or
about December 2014, in the Middle District of Florida, and elsewhere, the
defendant,
TOMMIE RAYMOND THOMAS,
was present within the special maritime and territorial jurisdiction of the
United States, with the intent to harass, intimidate, and place under
surveillance with intent to harass and intimidate another person, that is, E.W.,

and in the course of, and as a result of, such presence, did engage in a course
Case 5:18-cr-00018-JDW-PRL Document 1 Filed 04/18/18 Page 2 of 3 PagelD 2

of conduct that caused, attempted to cause, and would reasonably be expected
to cause substantial emotional distress to E.W.

In violation of 18 U.S.C. § 2261A(1).

A TRUE BILL,

1

Foreperson

MARIA CHAPA LOPEZ
United States Attorney

By: WZ EL
William S. Hamilton
Assistant United States Attorney

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Katherine M. Ho
Assistant United States Attorney
Chief, Ocala Division
FORM OBD-34
April 18

Case 5:18-cr-00018-JDW-PRL Document 1 Filed 04/18/18 Page 3 of 3 PagelD 3

No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Ocala Division

 

THE UNITED STATES OF AMERICA
vs.

TOMMIE RAYMOND THOMAS

 

INDICTMENT

Violations: 18 U.S.C. § 2261A()

 

A true bill, I ay Y |

Foreperson

 

 

Filed in open court this 18th day

of April, 2018.

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Bail $

 

 

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